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SUDBURY PUBLIC»SCHOOLS, '

' Plaintiff, -`
~ Civil Action No. 10-cv-10988-DPW
v.

MAS SACHUSETTS DEPARTMENT OF
ELEMENTARY AND SECONDARY
EDUCATION, BUREAU OF SPECIAL
ED_UCATION APPEALS, and _STUDENT,
by and through his mother, SUSAN DOE,

Defendants.

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MEMORANDUM' OF LAW IN SUPPORT OF SUSAN DOE’S MOTION FOR AN
ORDER ENFORCING STUDENT’S RIGHT TO “STAY-PUT” AT HIS
CURRENT EDUCATIONAL PLACEl\/[ENT PENDING APPEAL

. lntroduction
Defendant Susan Doe (“Doe” or “Parent”) submits this memorandum of law in
support of her motion`for an interim order, based on the “stay put” provision of the
IDEA,_ZO U.S.C. § 1415@), and‘federal and state special education regulations_at 34
C.F.R. § 300.5l8(d) and 603 C.M.R. § 28.08(7). Sudbury is responsible for continuing to
reimburse Parent for the Student’s tuition and transportation at the Student’s “current
educational placement” pending the outcome of the school district’s appeal.
Procedural Bacl<`ground

On July 24, 2009, Parent, pro se, filed a request for a due process hearing at the

Massachusetts Bureau of Special Education Appeals (“BSEA”) against the Sudbury

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Publicv S_chools.1 Parent claimed that Sudbury had violated the lD-EA by failing to offer an
Individualized Education Program (IEP) for her son for the 2008-2009 school year (Sth
grade) and that the IEP that Sudbury Was proposingfor the 2009-2010 school year (6th
grade), vvhich the Parent rej ected, did not provide her son With the tree appropriate public
education (FAPE) required by the IDEA.2 Parents, Who had unilaterally placed their son
at the Carroll School, requested that the BSEA order 4Sudbury to reimburse them for the
private school tuition for those two school years.3 y

At the beginning of the evidentiary hearing in February 2010, the Parent and the
school district argued'about Whether the Hearing Officer Would consider ordering a
placement at Carroll for duration of the IEP term, Which Was the 2009-2010 school year,
in addition to reimbursement of the expenses that the Parent Would have paid up ~to the. ~
time of the BSEA decision.4 See Administrative Record, vol. 4, at 1625-39. The Hearing

Officer ruled that the Parent’s request for a “prospective placemen ” for the remainder of

 

1 Due process hearings at the BSEA are governed by the Individuals With Disabilities Education Act
(IDEA), codified at 20 U.S.C. §§ 1400 et seq.; Section 504 of the Rehabilitation Act of 1973, codified at 29
U.S.C. § 794 and the Massachusetts special education law, codified at Chapter 7lB of the Massachusetts
General LaWs.

2 It Was not disputed that Student has a disability that falls Within the purview of the IDEA and the
Massachusetts special education statute. In re: Sudbul'y Public Schools, 16 MSER 107, 113, BSEA #10-
0704, slip op. at 12 (Apr. 9, 2010) (copy attached as Exhibit l). Under the federal FAPE standard an
educational program must be provided under an IEP that is tailored to the unique needs of the disabled
child, and must meet all of the child’s identiied special education and related service requirements,
including academic, physical, emotional and social needs. 34 C.F.R. 300.300(3)(ii); Lenn v Portland
School Commilz‘ee, 998 F.Zd 1083, 1086 (1St Cir. 1993) and Burlz'ngton v. Dep ’z‘ ofEduc. ofMass., 471
U.S. 359, 361 (1985).

3 See Burlz`ngron v. Dep ’t OfEduc. ofMasS., 471 U.S. 359, 371-72 (1985).The Hearing Ofiicer reiterated
What the Parent had to prove in order to get reimbursement for the private school: “Parent has the burden of
persuasion that Sudbury’s proposed lEPs for 6th grade were not appropriate, that Sudbury should have
proposed an IEP for 5th grade, and that the private school in Which Student has been enrolled (Carroll
School) is appropriate.” 16 MSER 107, 114, slip op. at 15; see also Mr. I. v. Maine Sch. Admz`n. Dz`st. No.
55, 480 F.3d 1, n. 22 (1St Cir. 2007).

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the 2009-2010 school year was too late to be considered in that proceeding In re.'
Sudbury Public Schools, 16 MSER 107, 108 n. 1, BSEA #10-0704, slip op. at 3 n. 1 (Apr.
9, 2010) (copy attached as EXhibit 1). “Therefore,” he stated, “this Decision does not
address any rights that Parents may have regarding Student's prospective placement at the
Cam>ii school.”$ Id.

The Hearing Officer heard testimony for approximately two and one-half days in
February and March 2010 and issued his Decision on April 9, 2010. The Hearing Officer
found that Sudbury had denied Student a free appropriate education in the Sth grade
(2008-2009) by failing to offer an IEP. 16 MSER at 117, slip op. at 21. However, the
Hearing Officer made a discretionary decision to deny the Parent’s request for
reimbursement for the Sth grade at Carroll because he found that the Parent had not
provided sufficient notice to Sudbury.6 16MSER at‘125, slip op. at 36. Sudbury did
propose an IEP for the 6th grade, which the Hearing Officer found did not provide FAPE
for the Student. 16 MSER at 120, slip op. at 28. He found the parents’ rej ection of the 6th`
grade IEP and their notice of the request for reimbursement for 6th grade at Carroll to
have been timely and that the placement at Carroll was appropriate 16 MSER at 123,

125, slip op. at 33, 36. The Hearing Officer therefore ordered Sudbury to:

 

4 The pro se Parent also requested that the Hearing Officer order a placement at Carroll for the next three
years, which was of course outside the Scope of the hearing, since the Hearing Officer can only consider the
IEP’s that have been proposed

5 The hearing took place in February and March 2010, and the decision was issued in April. By that time
the issue of “prospective placemen ” for the balance of the school year Was no longer relevant, because by
that time the Hearing Officer’s order to reimburse the Parent up to the date of the Decision covered
payments for the entire 2009-2010 school year. In re: Sudbury Publz`c Schools, 16 MSER 107, 114, BSEA
# 10-0704, slip op. at 10 (Apr. 9, 2010).

6 The “Limitation on Reimbursement” section of the ]DEA, 20 U.S.C. § 1412 (a) (10) (C) (iii) (I) allows a
hearing officer to “reduce or deny” reimbursement to the parents if the parents did not provide sufficient
advance notice of their intent to enroll their child in a private school at public expense, even if the parents
prove that the school district did not provide FAPE.

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[R]reimburse Parent for all of her out-of-pocket expenses (including

tuition and transportation) that she has incurred and paid, as of the date of

this Decision, for her unilateral placement of Student at the Carroll School

for 6lh grade. '

16 MSER at 125, slip op. at 36.

By letter dated June 14, 2010 and sent by e-mail, Parent sent documentation of
her out-of-pocket expenses for 2009-2010 tuition and transportation to Sudbury’ s
attorney.7 Exhibit 2. On the same day, Sudbury filed its appeal of the BSEA Decision in
this Court. By letter dated June 24, 2010, Sudbury responded to Parent’s documentation
for reimbursement as follows:

[T]he District has filed an appeal in Federal Court. ln these
circumstances, the District is not obligated to comply with the monetary
award granted by the hearing officer.

Exhibit 3.

On June 18, 2010, Sudbury proposed an IEP for Student for 7th grade (2010-
2011). Exhibit 4. By letter sent by email on July 12, 2010, Parent rejected the IEP and
placement and requested Sudbury to place Student at the Carroll School for the 2010-
2011 school year. Exhibit 5 .

On August 19, 2010, Parent, now represented by an attorney, filed a Motion for
Compliance at the BSEA, requesting that Sudbury be ordered to comply with the Hearing
Officer’s order of April 9, 2010, to reimburse Parents for the 2009-2010 school year.
Exhibit 6. Parent also requested that Sudbury be ordered to pay for Student, who was by

then in the 7th grade, to continue to attend the Carroll pending the outcome of the appeal

in federal court. On September 9, 2010, the Hearing Officer allowed the motion for

 

7 Parent, who Was proceeding pro se at the time, also requested reimbursement for monies paid to her
expert witnesses and a retainer to an attomey. Once Parent was represented by an attorney, she no longer
sought reimbursement for these additional expenses at the BSEA.

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compliance with the order of reimbursement, ruling that “Sudbury shall immediately
reimburse Parent for expenses due under the April 9, 2010 Decision.” In Re: Sudbury
Public Schools, BSEA # 10-0704, slip op. at 5 (ruling on compliance motion) (attached
as Exhibit 7). The Hearing Ofticer ruled that the request for continued “stay put” funding
at the Carroll School was outside the scope of a Motion for Compliance with the Order of
April 9, 2010, and denied that portion of the motion without prejudice Id. at 6.
issue Presented
This l\/lotion addresses Sudbury’s obligation to continue funding Student’s

placement at the Carroll School pending the appeal in federal court. The basis for this
request is that the BSEA decision of April 9, 2010 made the Carroll School the student’s
“current educational placement” and gave Student the right to “stay put” at that
placement by operation of federal and Massachusetts special education law. See 20
U.S.C. § 1415@) and 603 CMR 28.08(7)(d)l

Standard for Enforcing Right to Placement Pending Appeal Under the IDEA

'l`he IDEA provides that “during the pendency of any proceedings pursuant to

[section 1415(e)(2), establishing the right to appeal the administrative decision], unless
the State or local educational agency and the parents otherwise agree, the child shall
remain in the then-current educational placement of the child. . . .” 20 U.S.C. § 1415@);
see also 34 C.F.R. § 300.518(d); 603 C.l\/I.R. § 28.08(7). Because the IDEA has this
specific provision dealing with a student’s placement pending the appeal of an
administrative decision, once the “current educational placemen ” is determined by an
administrative hearing, “the stay put provision requires no specific showing on the part of

the moving party, and no balancing of the equities by the court.” Joshua A. v. Rocklz`n

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Unz'fz`ed Sch. Dist., 559 F.3d 1036,’ 1040 (9th Cir. 2009). The interim placement
constructively operates as an injunction to preserve the status quo; it is not dependent on
the merits of the appeal and is not subject to administrative exhaustion. See Ashland Sch.
Dist. v. V.M, 494 F. Supp. 2d 1180, 1182 (D. Or. 2007) (“Unlike the usual standards for
awarding interim relief, the court does not even inquire whether the moving party is
likely to prevail in this action. . . . Regardless of whether this court ultimately affirms the
ALJ’s decision or overturns it, during the pendency of this [judicial review], the School
District must pay for [student’s] placement”); see also Cransz‘on Sch. Dist. v. Q.D., No.
06-538ML, 2008 U.S. Dist. LEXIS 69846, at *42 (D.R.I. Sept. 8, 2008) (citing Murphy v.
Arlington Cenz‘. Sch. Dist. Dep’t ofEa'uc., 297 F.3d 195, 199 (2d Cir. 2002) (holding that
the requirement that parents exhaust administrative remedies does not apply to the “staye
put” provision)).
ARGUMENT
PURSUANT TO THE “PLACEMENT PENDING APPEAL” PROVISION
OF THE IDEA, 20 U.S.C. § 1415@), SUDBURY MUST CONTINUE
FUNDING THE PRIVATE SCHOOL PLACEMENT THAT THE BSEA
FOUND TO BE APPROPRIATE.
A. When the BSEA Found That Sudburv’s Proposed Placement
for 2009-2010 did not Provide FAPE and that Parent’s
Unilateral Placement at the Carroll School Was Appropriate,

The Carroll School Became the “Current Educational
Placemen ” bv Operation of Law.

 

 

 

When the administrative agency determines that the school district’s IEP does not
provide a free appropriate public education (FAPE) and that the private school where the
parent unilaterally placed the student was appropriate, the Hearing Officer’s decision and
order for reimbursement of the private school tuition establishes the private school as the

“current educational placement.” See Burlz'ngz‘on v. Dep ’z‘ of Educ. ofMass. , 471 U.S.

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359, 371-72 (1985). One year ago, the Fifth Circuit Court of Appeals described the
Burlington holding as follows: “The Supreme Court held that an administrative decision
in favor of parents who had placed their child in a private school after they rejected a
proposed lEP constituted an agreement by the state to the change of the child’s
placement, making the new, private school placement the current educational placement
of the child.” Housz‘on Indep. Sch. Dist. v. V.P., 582 F.3d 576, 595 (5th Cir. 2009) (citing
Burlz'ngton, 471 U.S. at 371-72), cert denied, 130 S.Ct. 1892 (2010); accord, Susquenz'ta
Sch. Dist. v. Raelee S., 96 F.3d 78 (3d Cir.1996) (administrative approval of private
school placement and order of reimbursement established private school as current
educational placement pending appeal under the lDEA).

The Second Circuit Court of Appeals has noted that slight revisions in the federal
regulations in 1999 confirmed that a hearing officer’s decision in favor of the parents’
placement establishes the “current educational placemen ” for purposes of 20 U.S.C. ~

§ 1415@). See Board of Educ. of the Pawlz'ng Central School District v. Schutz, 290 F.3d
476, 482 (2d Cir. 2002). The regulation provided that:

If the decision of a hearing officer in a due process hearing . . . in an

administrative appeal agrees with the child’s parents that a change of

placement is.appropriate, that placement must be treated as an agreement

between the State or local agency [in determining the current educational

placement pending appeal].
34 C.F.R. § 300.514 (c) (1999).8 The interpretive comment to the 1999 amendment to 34

C.F.R. § 300.514(c) states explicitly that the regulation “incorporates [the] interpretation”

found in Burlz'ngton, Susquenz`ta, and Clovis v. Um'jied School District v .Ojj‘ice of

 

8 The regulation at 34 C.F.R. § 514 was rewritten in 2006 and nearly identical language is now codified at
34 C.F.R. § 300.518(d). See Assistance to States for the Education of Children with Disabilities, 71 Fed.
Reg. 46540, 46797 (August 14, 2006) (codified at 34 C.F.R. § 300.518).

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Aclminz'sz‘raz‘z`ve Hearings, 903 F.2d 635 , 641 (9th Cir. 1990) that when a “state review
official's decision is in agreement with parents that a change in placement is appropriate
that decision constitutes an agreement by the State agency and the parents for purposes of
determining the child’s current placement during subsequent appeals.” 64 Fed. Reg.
12615 (l\/larch 12, 1999).
lf Sudbury is contending that the BSEA decision did not establish the Carroll
School as the “current educational placemen ” under the lDEA because the Decision only
considered reimbursement and not “prospective placement,” that argument has been
rejected by every court that has considered the issue9 The Second Circuit has specifically
rejected what is now Sudbury’s attempt to distinguish an order of reimbursement from a
change in placement:
We therefore hold, in conformity with the understanding of Burlington manifested
in the agency’s 1999 amendments to the federal regulations and in tandem With v
the holdings in Susquenz'ta, Murphy, and other cases, that an order of
reimbursement predicated on a finding that a proposed IEP is inappropriate for a
child constitutes a change in the child’s current educational placement for
purposes of interpreting the pendent placement provision, at § 1415 (j), of the
IDEA.
' Pawlz`ng*Cenlral School District, 290 F.3d at 481. The Second Circuit noted that the school

district can appeal the administrative decision ordering reimbursement to a state or federal

court pursuant to 1415(i)(2)(A), as Sudbury has done here, but that “during the pendency of

 

9 Stay-put was denied after a reimbursement order in L.M v. Capiszrano, 556 F.3d 900, 912 (9th

Cir. 2009 ). However, in that case the Hearing Officer found that the parents were n_ot entitled to

reimbursement for their unilateral placement The district court reversed the administrative decision
because the school district had committed a procedural violation, not because the unilateral placement was

' appropriate ln fact, in reversing the district court, the Ninth Circuit Court of Appeals specifically

distinguished that situation from other cases Where the hearing officer had found the parents’ unilateral

placement to be appropriate (“where the agency or the court has ruled on the appropriateness of the

educational placement in the parents' favor, the school district is responsible for appropriate private

education costs regardless of the outcome of an appeal”) (emphasis added). Ia'. The Court oprpeals

pointed out that in a previous case the Court had “concluded the district was responsible for maintaining the

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'_ the due process proceedings, parents are entitled to have the child ‘stay put' in his or her
‘current educational placement."” Id. at 481 (citing 20 -U.S.C. § 141 S(j)); accord Cranstorz
Sch. Dist., 2008 U.Sl Dist. LEXISv 69846, at *42 (“[T]he case law supports Parents’ position
that, once the hearing officer has ordered reimbursement, the School must reimburse tuition
until the appeals process has been completed”).

The Third Circuit has also held that after the administrative agency has found the
parents’ unilateral placement at the private school to be appropriate and ordered
reimbursement § 1415@) obligates the school-district to fiind the student’s private school
tuition on a continuing basis during the school distiict’s appeal. Susquenira, 96 F.3d at 86-87
(“once reimbursement for the first year was found to be appropriate, payments for
continuing the private school placement were proper while proceedings under the statute
were pending”). il

lhe Fiftli Circuit has noted that “Burlz'ngz‘orz and 34 C.F.R. § 300.518 transform a
hearing officer’s order adopting a private placement into an agreement that the private
school is necessary to carry out the requirements of the IDEA. That placement is at ‘no
cost’ to the parents of the child.” Houston Irza'ep. Sch. Dist. v. V.P., 582 F.3d at 595 ; see
also Pawlz`ng Cem‘ral Sch. Dist., 290 F.3d at 484 (noting that once parents’ challenge
succeeds, the school district’s consent to the placement ordered is implied by law).

The school district in Ashlana’ Sch. Dist. v. l/.l\/_/., 494 F. Supp. 2d at 1182 made
the same argument that Sudbury is making here; namely, that “the ALJ’s order [for
reimbursement] was not a determination formally changing [the student’s] ‘current

educational placement’ for purpose of the stay-put provisions in 34 C.F.R. § 300.518.”

 

student in that placement ‘after the administrative decision that the placement was appropriate.”’ Ia’. (citing
Clovis Um`fz`ea' Sch. Dist. v. Cal. Ojj?ce ofAdmz`n. Hearing, 903 F.2d 635, 641 (9th Cir. 1990)).

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494 F. Supp. 2d at 1182. The district court rejected this argument and held that the
administrative decision ordering reimbursement for the prior year constituted a “change
in placement,” as meant in the 'lDEA, and established the student’s “current educational
placement” during the appeal to federal court. Id. The district court found that the ALJ’s
finding and order of reimbursement “constitutes the most recent finding by an ALJ or
court regarding the proper placement for [student],” and established an agreement with
the parents that a change of placement is appropriate, as specified in 34 C.F.R.
§300.518(d). Id.

The BSEA has also reiterated the well-settled law. ln Irz re: Chicopee Publz'c
Schools and Nelida, BSEA # 04-0093, 10 MSER 276 (May 26, 2004), the BSEA found
“both that 2003 -2004 IEP proposed by Chicopee did not provide FAPE to Nelida, and
that the parents’ unilateral placement at the [private] White Oak School did.” Id. at 277
(copy attached as Exhibit 8). The school district reimbursed the parents for the private
school tuition up to the date of the BSEA decision, but reiiised to recognize the disputed '
placement at the private school as the child’s “current educational placemen ” during the
pendency of the district’s appeal to federal court. Id. at 276. The Hearing Officer noted
that while the underlying decision did not specifically order the school district to assume
programmatic, financial, and logistical responsibility for the student’s private school
placement, this responsibility shifted to the district as a matter of law on the date of the
- decision. Id. at 277. The Hearing Officer’s Compliance Order stated as follows:
Massachusetts and federal special education regulations leave no doubt
that a Student’s post-hearing “current placemen ” is the one found
appropriate by an administrative due process officer when the parents
agree 603 C.M.R. 28:08(7) (d); 34 C.F.R. 300.514(c) [citing Burlz'rzgton

and Sel)asrian K. v. Mass. Depz‘. of Educ., 2 MSER 248 (D.l\/lass.1996)]....
While the Bureau’s decision specifically ordered Chicopee to reimburse

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the parents for expenses incurred as a result of their daughter’s unilateral

placement, it did not, admittedly, specifically order Chicopee to assume

programmatic, fmancial, and logistical responsibility for the Student’s

White Oak placement as of the date of the decision. This happened by

operation of law. See e.g., Burlz`ngl‘on v. Dept. of Ed. ,736 F.2d 773, 800

(is.t Cir. 1984).

Id. at 277 (emphasis added).

In the case now before the Court, the Hearing Officer found on April 9, 2010 that
the Carroll School “has been an appropriate placement for 5th and 6th grades for purposes
of Parents’ claim for reimbursement.” 16 MSER at 123, slip op. at 33. Accordingly, the
BSEA’S decision in favor of Parent and the Carroll School placement constitutes the
State’s agreement to the Carroll School placement, making Carroll the student’s
placement pending appeal by operation of law.10

The policy behind this provision for continued placement pending appeal is clear. As
the Third Circuit has noted, “[t]he purpose of [IDEA] . . . is not advanced by requiring
parents, who have succeeded in obtaining a ruling that a proposed IEP is inadequate, to front

the funds for continued private education.” Susquerzita, 96 F.3d at 86-87; see also Houstorz `

Indep. Sch. Dist. , 582 F.3d at 576. The Ninth Circuit stated a similar policy:

 

1°' The district court in Ashlarzd noted that the hearing officer phrased the finding that the IEP was not

appropriate in the past tense, finding that the unilateral private school placement “was” appropriate The
district court pointed out that “[t]hat phrasing is understandable since the specific issue before the ALJ was
a claim for reimbursement of the expenses already incurred.” 494 F. Supp. 2d at 1182. The finding that the
previous placement was appropriate still constituted the most recent determination by the state of the
current appropriate educational placement .

Sudbury points out that the hearing officer denied (without prejudice) the Parent’s request to order
stay put placement, made as part of the Parent’s Motion for Compliance, after Sudbury refused after the
decision to comply even with the order of reimbursement for the prior year. See Opposition to Sudbury
Public Schools’ Motion to Stay the Decision and Order of the BSEA, filed herewith. The hearing officer
did not deny that part of Parent’s motion on the merits. He specifically stated that he would deny the
motion in connection with the Motion for Compliance with the BSEA order, since prospective placement
was not addressed in his April 19, 2010 order. lt appears that the hearing officer felt that the stay put
request should be done in a separate filing, which is presumably why he denied that part of the motion
“without prejudice.” ln any case, as set forth above, the stay put provision of the lDEA becomes
operational as a matter of law and is not subject to administrative exhaustion Cranston Sch. Dist., 2008
U.S. Dist. LEXIS 69846, at *42 (citing Murphy, 297 F.3d at 199).

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The fact that the stay put provision requires no specific showing on the part of the
moving party, and no balancing of equities by the court, evidences Congress’ sense
that there is a heightened risk of irreparable harm inherent iii the premature removal
~ of a disabled child to a potentially inappropriate educational setting. ln light of this
risk, the stay put provision acts as a powerful protective measure to prevent
disruption of the child’s education throughout the dispute process.
’Rocklz`n Um`fi`ed Sch. Dist., 559 F.3d at 1040.

ln the case now before the Court, the state, through its Bureau of Special Education
Appeals, determined that the Carroll School was the appropriate placement for the Student
for school year 2009-2010. This is the last determination by the state of the appropriate
placement for Student and that placement is required by law to be maintained by the school
district unless and until the BSEA’s determination is reversed on appeal. Clear statutory law
under the l])EA and Massachusetts law as well as sound policy require that Sudbury provide
for Student’s continued placement at the Carroll School pending the outcome of the school
district’s appeal.

B. Sudburv’s New IEP for the 2010-2011 School Yeari Proposed After the BSEA

Decision and Reiected bv Parents, Does Not Change the Student’s Current

Educational Placement at The Carroll School Unless and Until a Final BSEA or

Court Decision Determines that Sudburv’s Pror)osed IEP and Placement Provide

FAPE for 2010-2011. ,

As discussed above, on April 9, 2010, when the Hearing Officer found that
Sudbury’s IEP for 2009-2010 was not appropriate and the parent’s placement of the Student
at the Carroll School for that year was appropriate and must be reimbursed, that made the
Carroll School the Studen ’s “current educational placement” by operation of law. Pursuant

to 20 U.S.C. § 141 S(j), Sudbury is required to maintain that placement for Student pending

the final outcome of its appeal of the Hearing Officer’s decision.

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On June 18, 2010, Sudbury proposed a new IEP for the 2010-2011 school year,
Exhibit 4, which the Parents rejected on luly 12, 2010. Exhibit 5 . Because the parents
rejected the new proposed IEP, Sudbury remains responsible for Student’s placement at
Carroll. “[U]ntil a new placement is established by either an actual agreement between the
parents and the District, or by an administrative decision upholding the District's proposed
placement which [the parents] choose not to appeal, or by a court, the District remains
financially responsible [for the private school placement].” Marphy, 297 F.3d at 366, quoted
in Pawlz`ng Cerilral School District, 290 F.3d at 484; accord Housz‘on Iridep. Sch. Dist., 582
F.3d at 594, 595(“A school district may be able to seek . . . to change the educational l
placement during the pendency of the litigation. . . . . Without such a change, the obligation
for the proper public entity to pay for the private school exists.”)

in Pawling Cenlral School Districl, the school district argued that even though
reimbursement had been ordered for a private school placement after a finding that the lEP
did not provide FAPE, once the district proposed a new IEP for the following year, the rule
requiring the district to continue funding the private placement pending its appeal Was
abrogated 290 F.3d at 483. The Second Circuit rejected that argument As the Second
Circuit pointed out, “[s]uch an interpretation would undermine entirely the pending
placement provision of the ]DEA, allowing a school district to avoid altogether § 1415(j) by
the_mere proposal of a new IEP.” Id.; see also Marphy, 86 F.Supp. 2d at 366 (to hold that a
new IEP changes the “current educational placemen ” pending appeal “would mean that
parents who could not afford a private placement would be forced to maintain their child in
a public placement that an administrative decision held to be inappropriate”); accord

Ashland Sch. Dist. , 494 F.Supp. at 1182 (“Finally, the District argues that its offer of a new

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Individualized Education Program for V.M. somehow alters the ‘current placement.’ That is
not the law.”). lnAshland, the district court held that the IDEA required the school district
during the pendency of the appeal to continue funding the placement for which the hearing
officer had ordered reimbursement 494 F. Supp. 2d at 1182. The court pointed out that the
school district’s position would negate the purpose of the IDEA’s stay put provision: “The
stay-put provisions strive to ensure the child is not treated as a ping-pong ball, ricocheting
between placements with each new ruling in the dispute between parents and school. Unlike
the usual standards for awarding interim relief, the court does not even inquire whether the
moving party is likely to prevail in this action.” ]d.

Conclusion

The fact that Sudbury has appealed the BSEA decision for 6th grade (2009-2010)
does not relieve Sudbury of its responsibility to comply with the April 9, 2010 decision by
reimbursing Parent for the 2009-2010 school year and by funding the Carroll School
placement during the pendency of the appeal. If Sudbury seeks to change this placement,
Sudbury must follow the appropriate due process procedures set forth in ]DEA, M.G.L.

c. 71B, and 603 C.M.R. 28.00.

The Supreme Court in Barlz`ngron pointed out that “Where, as in the present case,
review of a contested IEP takes years to run its course_years critical to the child’s
development_important practical questions arise concerning interim placement of the child
and financial responsibility for that placement.” 471 U.S. at 361 quoted in Sasqaerzita, 96
F.3d at 82. The purpose of the stay put provision in 20 U.S.C. § 1415@) is “to protect
handicapped children and their parents during the review process.” Susqaeni`la, 96 F.3d at

82. For the foregoing reasons, in order to protect the rights of Susan Doe and her son, this

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Court should order the relief requested in_Susan Doe’s Motion for an Order Enforcing

Student’s Right to “Stay-Put” at His Current Educational Placement Pending Appeal.

Dated: October 6, 2010

Respecthilly submitted,

STUDENT, BY HIS MOTER, SUSAN
DOE, _

By her Attorneys,

/s/ Joseph B. Green

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_ CERTIFI~CATION

l hereby certify that a true copy of the foregoing was served upon the following attorneys of record
through the District Court’s Electronic Case Filing System on October 6, 2010:

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